                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


    MARGARET CZERWIENSKI,
    LILIA KILBURN, and AMULYA
    MANDAVA

         Plaintiffs,
                                                            Case No. 1:22-cv-10202-JGD
    v.

    HARVARD UNIVERSITY AND THE
    PRESIDENT AND FELLOWS OF
    HARVARD COLLEGE

         Defendant.

  PLAINTIFFS’ OPPOSITION TO HARVARD’S MOTION FOR LEAVE TO FILE
UNDER SEAL ATTACHMENTS TO MEMORANDUM IN SUPPORT OF MOTION TO
                             DISMISS

         Plaintiffs oppose Harvard’s Renewed Motion to Seal, in their entirety, Exhibits A–C to its

Motion to Dismiss (“Motion”) (Dkts. 44, 53–54). Consistent with the precedents of the First

Circuit, Plaintiffs request that the Court instead order Harvard to file redacted copies of Exhibits

A–C.1




1
  Harvard initially moved to seal Exhibits A–C of its Motion to Dismiss, Dkts. 19–20, and Exhibits 16-17
and 19-21 of its Motion for Partial Summary Judgment as to Count 10, Dkts. 24–25. See Dkt. 18. Plaintiffs
opposed the sealing motion by filing a motion to unseal the exhibits and to file versions with limited
redactions to the names of third-party witnesses and students. Dkt. 36. Plaintiffs emailed proposed redacted
exhibits to the Court on June 24, 2022, copying Harvard’s Counsel, with redactions to protect the names of
students and non-Harvard employees who are not identified in the Complaint (Dkt. 1) or Amended
Complaint (Dkt. 35). Harvard responded by arguing that Plaintiffs’ motion to unseal and file redacted
versions of the exhibits was moot, because Harvard would be filing a renewed Motion to Dismiss and new
Memorandum of Law in support of its Motion for Partial Summary Judgment as to Count 10. Dkt. 38. The
Court denied Plaintiffs’ motion to unseal on July 8, 2022 as moot. Dkt. 41. But on July 19, 2022, Harvard
filed its renewed Motion to Dismiss, again attaching the ODR Reports as Exhibits A–C, again moving to
seal them on the same purported bases, and again failing to offer proposed redactions. Dkts. 44, 53–54.

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                                        INTRODUCTION

       This action raises issues of immense public importance that call for public justice: the

systemic deliberate indifference of one of the world’s leading universities to sexual harassment

and retaliation by powerful professors. This case has been covered four times in The New York

Times and The Boston Globe, twice in The Washington Post, and by myriad other publications

worldwide. These media reports have recognized the implications of this case for the ways

universities respond to faculty who sexually harass their students.2 The Harvard community in

particular has watched this case with intense concern.3 For its part, Harvard has told the public—



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  See, e.g., Anemona Hartocollis, A Lawsuit Accuses Harvard of Ignoring Sexual Harassment by a
Professor, N.Y. Times (Feb. 8, 2022), https://www.nytimes.com/2022/02/08/us/harvard-sexual-
harassment-lawsuit.html; Michael Levenson and Anemona Hartocollis, Colleagues Who Backed Harvard
Professor Retract Support Amid Harassment Claims, N.Y. Times (Feb. 9, 2022),
https://www.nytimes.com/2022/02/09/us/harvard-sexual-harassment-letter.html; Michelle Goldberg,
Paranoia About #MeToo Overreach at Harvard, N.Y. Times (Feb. 10, 2022),
https://www.nytimes.com/2022/02/10/opinion/harvard-john-comaroff.html; Anemona Hartocollis, After
Sexual Harassment Lawsuit, Critics Attack Harvard’s Release of Therapy Records, N.Y. Times (Feb. 15,
2022), https://www.nytimes.com/2022/02/15/us/harvard-kilburn-therapy-records.html; Laura Krantz,
Three Graduate Students File Sexual Harassment Suit Against Prominent Harvard Anthropology
Professor, Boston Globe (Feb. 8, 2022), https://www.bostonglobe.com/2022/02/08/metro/3-graduate-
students-file-sexual-harassment-suit-against-prominent-harvard-anthropology-professor/; Laura Krantz,
Harvard Professors Drop Support for Colleague Accused of Sexual Harassment, Boston Globe (Feb. 9,
2022),        https://www.bostonglobe.com/2022/02/09/metro/professors-drop-support-colleague-accused-
sexual-harassment/; Boston Globe Ed. Bd., Victims of Sexual Harassment on College Campuses Deserve
Independent            Investigations,      Boston          Globe        (Mar.         7,       2022),
https://www.bostonglobe.com/2022/03/07/opinion/victims-sexual-harassment-college-campuses-deserve-
independent-investigations/; Laura Krantz, It’s Time to Fix the Vast Power Disparity Between University
Graduate Students and Advisers, Critics Say, Boston Globe (Apr. 5, 2022),
https://www.bostonglobe.com/2022/04/05/metro/its-time-fix-vast-power-disparity-between-graduate-
students-advisers-critics-say/; Susan Svrluga, At Harvard, Sexual Misconduct Allegations Prompt
Questions, Retractions and Vows to Do Better, Wash. Post (Feb. 10, 2022),
https://www.washingtonpost.com/education/2022/02/10/harvard-sexual-misconduct-comaroff/; Daniel W.
Drezner,     Harvard       Did     a   Bad,    Bad     Thing,    Wash.     Post    (Feb.   9,   2022),
https://www.washingtonpost.com/outlook/2022/02/09/harvard-did-bad-bad-thing/.
3
  See, e.g., Isabella B. Cho and Ariel H. Kim, Lawsuit Alleges Harvard Ignored Sexual Harassment
Complaints Against Prof. John Comaroff for Years, Harvard Crimson (Feb. 9, 2022) (among over a dozen
articles     on      the   case      by    the     University’s    daily     student    newspaper),
https://www.thecrimson.com/article/2022/2/9/comaroff-lawsuit/.


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both in its statements to the press and now in its Motions to Dismiss and for Partial Summary

Judgment—that this case shows its system worked.4 It has further accused Plaintiffs of “chilling”

students from reporting harassment with their complaint, which shines a light on the university’s

systemic failures.

        Students and the public have the right to understand the parties’ positions on how Harvard

investigates and adjudicates complaints of sexual harassment and retaliation lodged against

prominent professors, as well as the factual basis for those positions. Students and the public also

have a right to understand the records in front of this Court as it passes judgment on Harvard’s

actions. Such public access to judicial records is “essential . . . to . . . maintain[ ] public confidence

in the administration of justice.” Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 595 (1980)

(Brennan, J., concurring). It allows the public to “monitor the functioning of our courts, thereby

insuring quality, honesty and respect for our legal system.” F.T.C. v. Standard Fin. Mgmt. Corp.,

830 F.2d 404, 410 (1st Cir. 1987).

        Yet Harvard now seeks to seal the key documents on which it relies both in its Motion to

Dismiss before this Court and in its public statements of non-responsibility. It asks the Court to

seal the three final Reports of the Harvard Office of Dispute Resolution’s investigation into

Plaintiffs’ complaints (“the ODR Reports”), even though Harvard claims they are incorporated

into the Amended Complaint—which is already public—and even though Harvard’s Motion to

Dismiss relies almost entirely on those reports to argue that Harvard is not liable under Title IX.

See Mot. to Dism. (Dkt. 54) at 4–6, 19–20 (arguing that Plaintiffs’ allegations boil down to a

“disagree[ment] with the structure and outcome” of Harvard’s investigation and heavily citing the


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    University Spokesperson Nicole Merhill, Harvard Statements (Feb. 10–18, 2022),
https://www.harvard.edu/media-relations/2022/02/10/harvard-statements/; Dkt. 54 at 2 (alleging that
Harvard followed a “robust and thorough investigation by ODR of each complaint pursuant to Harvard’s
Title IX policies and procedures.”).

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reports throughout the motion in an attempt to show the investigation was adequate). Harvard thus

asks the Court to dismiss this case based on a secret record.

       Harvard’s proposal turns the presumption of public justice on its head. Precedent in this

Circuit is clear: our justice is public and the wholesale sealing of judicial records is strongly

disfavored. The ODR Reports should be public with limited redactions to the names of third-party

witnesses and students. Such transparency is essential to the public’s right to understand these

proceedings and essential to the rule of law.

                                           ARGUMENT

          I.   This Circuit Recognizes a Strong Presumption in Favor of Public Access to
               Court Documents

       Courts recognize a “presumption that the public has a right to see and copy judicial

records.” Standard Fin. Mgmt., 830 F.2d at 412. “Only the most compelling reasons can justify

non-disclosure of judicial records.” Id. at 410 (emphasis added).

       When the court reviews a request to seal judicial records, “the scales tilt decidedly toward

transparency.” Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 70 (1st Cir. 2011). The “privacy

rights of participants and third parties” can justify sealing “in appropriate cases,” but the court

must “consider the degree to which the subject matter is traditionally considered private rather

than public,” the relevance of the information to the case, and whether the privacy interests at issue

overcome the public’s right to monitor judicial proceedings. United States v. Kravetz, 706 F.3d 47,

56, 58, 62–63 (1st Cir. 2013). And the party seeking sealing must adduce specific facts to show

that sealing is justified. “The First Circuit has repeatedly emphasized that ‘sealing of judicial

documents must be based on a particular factual demonstration of potential harm, not on

conclusory statements.’” Arkansas Tchr. Ret. Sys. v. State St. Bank & Tr. Co., No. CV 11-10230-

MLW, 2018 WL 11316801, at *2 (D. Mass. June 28, 2018) (quoting Kravetz, 706 F.3d at 60).


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        When a document does contain information that implicates privacy or other compelling

interests that overcome the right of public access, sealing the whole document is seldom required.

In such cases, “it is proper for a district court, after weighing competing interests, to edit and redact

a judicial document in order to allow access to appropriate portions of the document.” Kravetz,

706 F.3d at 62 (quoting United States v. Amodeo, 44 F.3d 141, 147 (2d Cir. 1995)); see further

Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 419 (5th Cir. 2021) (explaining that courts “must

undertake a case-by-case, document-by-document, line-by-line balancing of the public’s common

law right of access against the interests favoring nondisclosure” and that “[s]ealings must be

explained at a level of detail” to permit such review) (internal quotation marks omitted).

         II.    Harvard Does Not Carry Its Burden to Rebut this Circuit’s Recognized
                Presumption in Favor of Access to Judicial Records

        Harvard does not justify sealing the entire ODR Reports. Harvard’s argument to seal the

ODR Reports is the conclusory assertion that they “reveal highly personal, confidential, and

sensitive information about the Plaintiffs, as well as personally-identifying information and

confidential material concerning other witnesses who were interviewed or involved with the ODR

investigations.” Harvard Mot. at 2–3. Harvard further speculates that “revealing the full Final ODR

Reports may deter other student and witness participation in Harvard’s Title IX investigatory

processes.” Id. In support of these conclusory and speculative arguments, Harvard cites a plainly

inapposite case—DeCosta v. Chabot—in which the court sealed records of child abuse

proceedings “to encourage reports [of child abuse] and to protect the reporters.” No. CIV. 92-425-

M, 1994 WL 279739, at *2 (D.N.H. June 9, 1994) (where parties accused of child abuse sought

disclosure of proceedings made confidential by state law). Harvard’s broad-brush arguments and

inapposite precedents do not come close to the “particular factual demonstration” required.

Kravetz, 706 F.3d at 60.


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          First, here, the “reporters” (the Plaintiffs) are the ones who seek transparency. Their

privacy is not at issue. This situation thus differs from DeCosta where the party complaining of

child abuse sought confidentiality. And the two cases Harvard cites in which the court sealed

Harvard’s investigative reports similarly miss the mark. They involved assented-to motions, where

the complainants agreed that the reports of investigations into their own complaints should be

sealed. Doe v. Harvard University, et al., Civ. Action No. 1:18-cv-12150-IT, Dkt. 25; Leader v.

Harvard University Board of Overseers, et al., Civ. Action No. 1:16-cv-10254-DJC, Dkt. 21.

Harvard cites no case in which a court has sealed such reports when the complainant herself urges

public access.

          Second, as to witnesses, Harvard does not explain what “sensitive information” it contends

the ODR Reports contain, as required under First Circuit precedent. See Kravetz, 706 F.3d at 60.

Harvard instead offers only the conclusory assertion that the ODR Reports rely on “sensitive

nonpublic information” about “Harvard faculty” and “Harvard student witnesses.” Harvard Mot.

at 2. This kind of generality plainly fails to make the “particularized” showing of “compelling

reasons” that precedent requires. Id. at 59–60. Moreover, the original ODR Reports are already

designed to protect witnesses’ identities: they refer to all witnesses with a number (e.g., “Witness

1” and “Person A”) and identify them only in a key that ODR redacts before distributing the reports

to the parties.5 The reports are therefore ready to be released in redacted form without identifying

student and third-party witnesses by redacting their names in the key.

          Harvard does not offer any argument in its Motion as to why future Harvard students would

refuse to participate in Title IX proceedings just because a public filing discusses the testimony of

student witnesses (with names redacted) who “spoke with Harvard voluntarily” about Plaintiffs’


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    Plaintiffs received only this redacted version in the course of their participation in ODR’s investigation.


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experiences of harassment and retaliation. Harvard Mot. at 3. And Harvard does not contend that

the reports discuss the details of any harassment or abuse other than the conduct against the

Plaintiffs that has already been aired at length in the Amended Complaint and in media reports.

See Dkt. 35. That is because, contrary to Title IX, ODR ignores past reports of misconduct against

the same perpetrator when it evaluates later complaints. See, e.g., Sealed Mot. to Dismiss Ex. B

(Dkt. 20) at 14 n.21. Nor does Harvard point to any other facts in the ODR Reports that would

deter witnesses from participating if disclosed. If anything, unsealing the ODR Reports would give

potential future witnesses crucial insight into how ODR treats—and ultimately dismisses—witness

testimony. Harvard cannot avoid transparency by vaguely gesturing at “sensitive” and “nonpublic”

student information.

        Third, as for Harvard faculty, the Amended Complaint already identifies the names of all

but very few of the Harvard employees mentioned in the ODR Reports—including Professors John

and Jean Comaroff and Dr. Seth Avakian—and explains their actions relevant to the case. See

Kravetz, 706 F.3d at 63 (“[P]rior publicity weighs strongly against sealing.”).6 And Harvard does

not dispute that it can and does require its own employees to share information about sexual

misconduct. See Sexual and Gender-Based Harassment Policy and Procedures for the Faculty of

Arts and Sciences (Dkt. 51-2) at 9–10. Harvard thus does not provide any evidence that its

employees would refuse to comply with their obligations under Harvard’s policies because of the

faint prospect that some incrementally additional portion of their testimony might later became

public in a lawsuit. Again, Harvard’s broad, conclusory, and speculative assertions do not satisfy

the strictures of the First Circuit’s precedents.



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  Indeed, Plaintiffs’ Amended Complaint specifically concerns Harvard’s failure to prevent and address
retaliation by Professor Jean Comaroff. See Dkt. 35 ¶¶ 188-191, 208.


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       Fourth, the ODR Reports do not contain any personal information that would otherwise

implicate the privacy interests of third parties. And, if they did contain such information, Harvard

should have proposed redactions that addressed this information instead of wholesale sealing of

the reports. See infra Section III; Kravetz, 706 F.3d at 62. Harvard did not do so—because the

ODR Reports contain no such information. The public (including other Harvard students) should

be allowed to see for themselves the basis for this conclusion.

       Finally, Harvard’s argument that it places a high value on the confidentiality of ODR

proceedings and that its policies impose confidentiality on participants to that process actually

weighs in favor of public access to these reports. Harvard Mot. at 3. Harvard’s procedures

concerning confidentiality are squarely at issue in this case: as Plaintiffs allege in their Amended

Complaint, Harvard’s secretive and non-transparent complaint procedures played an integral role

in allowing multiple professors in the Anthropology Department to harass students for years. Dkt.

35 at ¶¶ 17, 128-143, 205. It was only when Plaintiffs began realizing that Harvard had repeatedly

failed to act on previous reports of harassment that they were able to take action against the

university. Id. at ¶¶ 122-143. If the ODR Reports are truly evidence of a “searching and thorough

process”—as Harvard alleges in its Motion to Dismiss, Dkt. 54 at 18—they should be available on

the docket to permit the public, including Harvard students, to evaluate for themselves whether

Harvard treated Plaintiffs’ complaints justly. See Richmond Newspapers, 448 U.S. at 595 (1980);

Standard Fin. Mgmt. Corp., 830 F.2d at 410. Indeed, the fact that these ODR Reports are at the

center of this inquiry—including before this Court—is precisely why they should be public.

Bradford & Bigelow, Inc. v. Richardson, 109 F. Supp. 3d 445, 447 (D. Mass. 2015) (“The more

important the document is to the core judicial function of determining the facts and law applicable

to the case, the stronger the presumption of public access and the higher the burden to overcome



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it.”). Critiques Harvard might face for its labyrinthine and biased ODR processes once the ODR

Reports are public do not constitute the compelling reasons needed to overcome the presumption

against sealing. See Siedle v. Putnam Invs., Inc., 147 F.3d 7, 10 (1st Cir. 1998) (“The mere fact

that judicial records may reveal potentially embarrassing information is not in itself sufficient

reason to block public access.”).

        III.    Harvard Flouts this Circuit’s Precedent By Not Even Attempting to Identify
                Proposed Redactions

        To be sure, Plaintiffs do not oppose the sealing of certain portions of the ODR Reports to

protect legitimate privacy interests of third parties. Indeed, Plaintiffs have already “edit[ed] and

redact[ed] [these] judicial document[s] in order to allow access to appropriate portions of the

document”—as required by the precedents of this Circuit. See Kravetz, 706 F.3d at 62. This Court’s

task is thus simple: It should reject Harvard’s audacious proposal that the Court dismiss Plaintiffs’

claims based on secret evidence, and order sealing and redaction only of the names of all students7

and other non-Harvard employees whose identities are not revealed by the Complaint (Dkt. 1) or

Amended Complaint (Dkt. 35) as already set forth in Plaintiffs’ proposed redactions (Dkt. 36).

                                           CONCLUSION

        Harvard should not be rewarded for its attempts to flout this Circuit’s jurisprudence. The

Court should therefore deny Harvard’s Motion for Leave to file under seal the ODR Reports

attached to its Motion to Dismiss.




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 These redactions moot Harvard’s vague claim that unspecified “FERPA protections … for other [students]
discussed in the reports” justify sealing. Harvard Mot. at 3. Harvard does not even explain what “FERPA
protections” might apply here. See id. As explained above, the reports do not contain any other non-public
personal or sensitive information about third-party students. To the extent they contain information that
might identify a student—such as a student’s area of study or affiliation with a Harvard organization—
Plaintiffs would not oppose redacting such identifying information.

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Dated: August 2, 2022   Respectfully submitted,

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                          10
